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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

 LUKE NGUYEN,

          Plaintiff,

 v.                                              Case No.: 3:21-cv-00173-MMH-MCR

 UNIVERSITY OF ST. AUGUSTINE
 FOR HEALTH SCIENCES, LLC,

       Defendant.
 _________________________________/

                       DECLARATION OF DIANE RONDINELLI

          I, Diane Rondinelli, pursuant to the provisions of 28 U.S.C. § 1746, hereby

 declare as follows:

          1.     I am over the age of eighteen. The facts stated in this Declaration are

 true of my personal knowledge and I could and would competently testify thereto if

 called upon to do so.

          2.     I am currently employed by the University of St. Augustine for Health

 Sciences (“USA”) as the Registrar. I have been the Registrar at USA since March

 1998.

          3.     I reviewed the information contained in Nguyen’s student file on the date

 of this Declaration.

          4.     USA no record of Nguyen’s transcripts, or student file, being requested

 by any college or university, including Harvard.




 {00409778 1 }
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          5.     USA no record of Nguyen’s transcripts, or student file, being released to

 any college or university, including Harvard.



          Executed on August 8, 2022 in St. John’s County, Florida.




                                                              DIANE RONDINELLI




 {00409778 1 }                                2
